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                                                                                       FILED
                   IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA
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                                       Alexandria Division
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 UNITED STATES OF AMERICA


                                                      Case No. l:20-mj-4

 JOHN WILLIAM KIRBY KELLEY,
     a/k/a"Carl,"
       a/k/a"BotGod"


           Defendant.



               CONSENT MOTION TO EXTEND TIME FOR INDICTMENT

       The United States of America,through undersigned counsel, with the express consent of

the defendant, and the defendant's counsel, respectfully moves the Court to extend the time to

indict this case through and including April 14,2020. In support thereof, the parties state as

follows:


       1.       The defendant was arrested on a federal charge on January 10, 2020. The

defendant made his initial appearance in the Eastern District of Virginia on January 10, 2020.

The defendant was ordered detained pending a combined preliminary and detention hearing. On

January 15,2020,the defendant appeared in court for his combined preliminary and detention

hearing. After the defendant waived his preliminary hearing and did not seek release from

custody, the Honorable John F. Anderson, United States Magistrate Judge for the Eastern District

of Virginia,found that the criminal complaint was supported by probable cause and ordered the

defendant detained pending trial.
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